                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                 Alexandria Division

                                             )
UNITED STATES OF AMERICA                     )
                                             )
v.                                           )        No. 1:19-cr-59 (LO)
                                             )
DANIEL EVERETTE HALE,                        )
                                             )
        Defendant.                           )

     DEFENDANT’S MOTION TO SEAL, NOTICE OF FILING OF MOTION TO SEAL
            AND MEMORANDUM IN SUPPORT OF MOTION TO SEAL

        Pursuant to Local Criminal Rule 49(E), the defendant, Daniel Everette Hale, through

counsel, hereby gives notice that he is moving for leave to file Defendant’s Position on Sentencing

under seal and moves for an Order sealing Defendant’s Position on Sentencing. Separately,

defendant will promptly file on the public docket a redacted copy of Defendant’s Position on

Sentencing, making available to the public those portions of the Position on Sentencing that do not

require sealing. A proposed Order is attached for the Court’s consideration. 1

I.      Item to be Sealed and Necessity for Sealing

        A.     The defendant asks the Court to seal Defendant’s Position on Sentencing, to be filed

with the Court on July 20, 2021.

        B.     Sealing is necessary in order to safeguard the privacy and safety of the defendant

in that the document contains sensitive medical information including mental health history and




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               The document to be sealed will be filed with the Court non-electronically
pursuant to Local Criminal Rule 49(E) and the Electronic Case Filing Policies and Procedures
(see p. 16). Pursuant to the Local Rules, the sealed document is to be treated as sealed pending
the outcome of this motion.
diagnoses as well as other confidential information. Counsel for the defendant has considered

procedures other than sealing and none will suffice to protect this information from disclosure.

II.    Previous Court Decisions Which Concern Sealing Documents

       A.      The Court has the inherent power to seal materials submitted to it. See United

States v. Wuagneux, 683 F.2d 1343, 1351 (11th Cir. 1982); State of Arizona v. Maypenny, 672

F.2d 761, 765 (9th Cir. 1982); Times Mirror Company v. United States, 873 F.2d 1210 (9th Cir.

1989); see also Shea v. Gabriel, 520 F.2d 879 (1st Cir. 1975); United States v. Hubbard, 650 F.2d

293 (D.C. Cir. 1980); In re Braughton, 520 F.2d 765, 766 (9th Cir. 1975). “The trial court has

supervisory power over its own records and may, in its discretion, seal documents if the public’s

right of access is outweighed by competing interests.” In re Knight Pub. Co., 743 F.2d 231, 235

(4th Cir. 1984).

       B.      This Court previously has sealed documents in other cases dealing with the same

or similar subject matters as the material sought to be sealed in this matter.

III.   Period of Time to Have the Document Under Seal

       A.      The material to be filed under seal would need to remain sealed permanently or

until unsealed by the Court.

                                          *       *       *

       Accordingly, the defendant respectfully requests that an Order be entered allowing the

aforementioned Position on Sentencing to be placed Under Seal. An appropriate Order is attached.




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Dated: July 20, 2021         Respectfully submitted,

                             DANIEL EVERETTE HALE


                       By:   _ /s/ ____________
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                             Va. Bar No. 41834
                             Cadence A. Mertz
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                               CERTIFICATE OF SERVICE


      I hereby certify that on July 20, 2021, I will file the foregoing using the CM/ECF system,
which will serve copies on counsel of record.

                                            _ /s/ ____________
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